




Dismissed and Memorandum Opinion filed August 24, 2006








Dismissed
and Memorandum Opinion filed August 24, 2006.

&nbsp;

&nbsp;

In The

&nbsp;

Fourteenth Court of
Appeals

____________

&nbsp;

NO. 14-06-00282-CR

____________

&nbsp;

MIROSLAVA JULIET VIAMONTE,
Appellant

&nbsp;

V.

&nbsp;

THE STATE OF TEXAS, Appellee

&nbsp;



&nbsp;

On Appeal from the
184th District Court

Harris County, Texas

Trial Court Cause No. 627,264

&nbsp;



&nbsp;

M E M O R A N D U M&nbsp;&nbsp; O P I N I O N

Appellant
entered a guilty plea to delivery of a controlled substance.&nbsp; In accordance
with the terms of a plea bargain agreement with the State, the trial court
sentenced appellant on January 12, 2006, to confinement for sixteen years in
the Institutional Division of the Texas Department of Criminal Justice and
assessed a fine of $1.00.&nbsp; Appellant filed a pro se notice of appeal.&nbsp; We
dismiss the appeal.&nbsp; 








The
trial court entered a certification of the defendant=s right to appeal in which the court
certified that this is a plea bargain case, and the defendant has no right of
appeal.&nbsp; See Tex. R. App. P. 25.2(a)(2).&nbsp;
The trial court=s certification is included in the record on appeal.&nbsp; See
Tex. R. App. P. 25.2(d).&nbsp; The
record supports the trial court=s certification.&nbsp; See Dears v. State, 154 S.W.3d 610,
615 (Tex. Crim. App. 2005).

Accordingly,
we dismiss the appeal.&nbsp; 

&nbsp;

PER CURIAM

&nbsp;

Judgment rendered and Memorandum Opinion filed August
24, 2006.

Panel consists of Fowler, Edelman and Frost.

Do Not Publish C Tex. R. App. P.
47.2(b)





